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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                      03/06/2025
                                                                       :
JANE DOE,                                                              :
                                                                       :
                                    Plaintiff,                         :
                                                                       :             24-cv-7777 (LJL)
                  -v-                                                  :
                                                                       :       MEMORANDUM AND
SEAN COMBS, DADDY’S HOUSE RECORDINGS                                   :           ORDER
INC., CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a                            :
COMBS ENTERPRISES LLC, BAD BOY                                         :
ENTERTAINMENT HOLDINGS, INC., BAD BOY                                  :
PRODUCTIONS HOLDINGS, INC., BAD BOY                                    :
BOOKS HOLDINGS, INC., BAD BOY RECORDS                                  :
LLC, BAD BOY ENTERTAINMENT LLC, BAD BOY
PRODUCTIONS LLC, and ORGANIZATIONAL DOES :
1-10,                                                                  :
                                    Defendants.                        :
---------------------------------------------------------------------- X
LEWIS J. LIMAN, United States District Judge:

        Plaintiff Jane Doe (“Plaintiff”) is one of numerous women who have sued the rapper

Sean Combs, a/k/a “P. Diddy,” a/k/a “Puff Daddy”, a/k/a “Diddy,” a/k/a “PD,” and a/k/a/ “Love”

(“Combs”) in this District, alleging sexual assault. Dkt. No. 1 ¶¶ 12–19; Dkt. No. 32 ¶ 4.

Plaintiff alleges that nearly 30 years ago, in or around June 1995, she was raped by Combs at a

party at Elks Plaza in New York City. Dkt. No. 1 ¶¶ 34–41. Plaintiff filed her complaint on

October 14, 2024. Id. She now moves for an order permitting her to proceed anonymously,
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under the pseudonym “Jane Doe.” Dkt. No. 31. 1 Defendants 2 oppose the motion. Dkt. No. 48.

For the reasons that follow, the motion is denied.

       Federal Rule of Civil Procedure 10(a) requires that the title of a complaint name all the

parties to a litigation. Fed. R. Civ. P. 10. This requirement “serves the vital purpose of

facilitating public scrutiny of judicial proceedings and therefore cannot be set aside lightly.”

Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 188–89 (2d Cir. 2008). “[W]hen

determining whether a plaintiff may be allowed to maintain an action under a pseudonym, the

plaintiff’s interest in anonymity must be balanced against both the public interest in disclosure

and any prejudice to the defendant.” Id. at 189. “The people have a right to know who is using

their courts.” Id. (internal quotation marks omitted) (quoting Doe v. Blue Cross & Blue Shield

United, 112 F.3d 869, 872 (7th Cir. 1997)). The Second Circuit has identified a number of non-

exclusive factors that are relevant to whether a plaintiff should be permitted to proceed

pseudonymously:

        (1) whether the litigation involves matters that are highly sensitive and of a
       personal nature; (2) whether identification poses a risk of retaliatory physical or
       mental harm to the . . . party seeking to proceed anonymously or even more
       critically, to innocent non-parties; (3) whether identification presents other harms
       and the likely severity of those harms . . . ; (4) whether the plaintiff is particularly
       vulnerable to the possible harms of disclosure . . . ; (5) whether the suit is
       challenging the actions of the government or that of private parties; (6) whether the
       defendant is prejudiced by allowing the plaintiff to press his claims anonymously,
       whether the nature of that prejudice (if any) differs at any particular stage of the
       litigation, and whether any prejudice can be mitigated by the district court; (7)
       whether the plaintiff’s identity has thus far been kept confidential; (8) whether the


1
  Plaintiff first moved to proceed anonymously on October 16, 2024, Dkt. No. 13, after the Court
directed that it would not permit the Clerk of Court to issue summons until such a motion was
filed, Dkt. No. 12. On October 16, 2024, the Court made a preliminary determination that the
complaint could be filed under a pseudonym and that the Clerk of Court should issue the
requested summons. Dkt. No. 17. The Court directed Plaintiff to file a second motion to
proceed anonymously within 30 days of the service of the complaint on pain that, if such a
motion was not timely filed, the Court would order the name of the Plaintiff disclosed. Id.
2
  Plaintiff also sues companies allegedly owned or controlled by Combs. Id. ¶¶ 25–27.


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       public’s interest in the litigation is furthered by requiring the plaintiff to disclose
       his identity; (9) whether, because of the purely legal nature of the issues presented
       or otherwise, there is an atypically weak public interest in knowing the litigants’
       identities; and (10) whether there are any alternative mechanisms for protecting the
       confidentiality of the plaintiff.

Id. at 190 (internal citations and quotations omitted and alterations adopted); see also United

States v. Pilcher, 950 F.3d 39, 42 (2d Cir. 2020).

       The court is not required “to list each of the factors or use any particular formulation as

long as it is clear that the court balanced the interests at stake in reaching its conclusion.” Sealed

Plaintiff, 537 F.3d at 189, 191 n.4. The presumption is that a plaintiff will disclose her identity.

See id. at 189 (noting the “constitutionally-embedded presumption of openness in judicial

proceedings”). “[P]seudonyms are the exception and not the rule, and in order to receive the

protections of anonymity, a party must make a case rebutting that presumption.” Pilcher, 950

F.3d at 45.

       The first factor, whether the litigation involves matters of a sensitive or personal nature,

“favors the plaintiff’s use of a pseudonym.” Doe v. Combs, 2025 WL 268515, at *2 (S.D.N.Y.

Jan. 22, 2025). Plaintiff alleges that she was assaulted and then raped by Combs at a party in

New York. Dkt. No. 1 ¶¶ 34–41; see Rapp v. Fowler, 537 F. Supp. 3d 521, 528 (S.D.N.Y. 2021)

(“Allegations of sexual assault are ‘paradigmatic example[s]’ of highly sensitive and personal

claims’” (quoting Doe No. 2 v. Kolko, 242 F.R.D. 193, 195 (E.D.N.Y. 2006))). “However,

allegations of sexual assault, by themselves, are not sufficient to entitle a plaintiff to proceed

under a pseudonym.” Rapp, 537 F. Supp. 3d at 528 (quoting Doe v. Skyline Automobiles Inc.,

375 F. Supp. 3d 401, 405 (S.D.N.Y. 2019)); see Doe v. Combs, 2024 WL 4635309, at *2

(S.D.N.Y. Oct. 30, 2024), reconsideration denied, 2024 WL 4753565 (S.D.N.Y. Nov. 12, 2024);

Doe 1 v. Branca USA, Inc., 2022 WL 2713543, at *2 (S.D.N.Y. July 13, 2022) (“A claim by an

adult plaintiff to have been the victim of sexual abuse and to have suffered physical or


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psychological damage as a result, accompanied by sufficient facts to support that claim, is not

enough to entitle a plaintiff to proceed anonymously. Were it otherwise, virtually all claims of

adult sexual assaults would ipso facto proceed anonymously.”).

       The second and the third factors concern whether Plaintiff would suffer harm if her

identity were disclosed. These factors do not favor allowing Plaintiff to proceed anonymously.

“Courts in this District have held that speculative claims of physical or mental harms are

insufficient to bolster a request for anonymity.” Skyline Automobiles, 375 F. Supp. 3d at 406.

Rather, “[o]vercoming the presumption of openness requires particularized evidence that

disclosure will cause injury.” Combs, 2025 WL 268515, at *3. Plaintiff argues that there is a

significant risk of physical harm if her identity is disclosed because Combs said to her after the

rape that, “[y]ou better not tell anyone about this, or you will disappear,” Dkt. No. 1 ¶ 43, and

counsel declares that an overwhelming number of his clients have stated that Combs threatened

them similarly, Dkt. No. 32 ¶ 4. However, the complaint relates to an event nearly thirty years

ago; there is no evidence that Combs has been in contact with Plaintiff or made any threats in the

last three decades. As important, the Court takes judicial notice that Combs is now under

criminal indictment and is in federal custody at the Metropolitan Detention Center. See United

States v. Combs, No. 24-cr-542 (S.D.N.Y.). The complaint identifies by name a number of

persons who have accused Combs of rape and/or sexual assault. Dkt. No. 1 ¶¶ 12–14, 16–19.

Plaintiff offers no evidence that those persons have been subject to threats as a result of their

accusations. 3 Although counsel declares generally that others have similar fears, the declaration

is not sworn or made under penalty of perjury under the laws of the United States and is thus




3
 The complaint does allege that Combs has engaged in acts of violence in connection with his
assaults. E.g., Dkt. No. 1 ¶¶ 10–11.


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inadmissible. See 28 U.S.C. § 1746; Cobalt Multifamily Invs. I, LLC v. Arden, 857 F. Supp. 2d

349, 355 (S.D.N.Y. 2011). Plaintiff has not shown that Combs poses any threat to Plaintiff now

or in the future or that the disclosure of Plaintiff’s identity will create any harms to any third

party.

         Plaintiff additionally argues that having her experiences played out in a public forum,

including “unwanted attention from the media,” would result in “extreme psychological

distress.” Dkt. No. 33 at 5. However, Plaintiff relies only on “generic allegations” of mental

harm applicable to any litigant bringing a sexual assault claim. Doe v. Smith, 105 F. Supp. 2d

40, 43 (E.D.N.Y. 1999); see Combs, 2025 WL 268515, at *3. Similarly, the potential for media

attention is present in every case against a public figure, but those are correspondingly the cases

for which the public interest in understanding the allegations is highest. Without trivializing the

difficulties of litigating a sexual assault claim against a high-profile defendant, the fact that a

claim is of this type is not by itself sufficient to allow a plaintiff to proceed anonymously. See

Branca USA, 2022 WL 2713543, at *2. Plaintiff has not introduced particularized medical or

other evidence that revelation of Plaintiff’s identity would cause “exceptional” emotional harm

of the type that justifies anonymity. Smith, 105 F. Supp. 2d at 43 (citation omitted); see Combs,

2024 WL 4635309, at *3.

         The plaintiff’s age is critical to the fourth factor “as courts have been readier to protect

the privacy interest of minors in legal proceedings than of adults.” Doe v. Solera Cap. LLC,

2019 WL 1437520, at *6 (S.D.N.Y. Mar. 31, 2019). Plaintiff is an adult and apparently was an

adult at the time of the alleged assault. The fourth factor favors Defendants. Branca USA, 2022

WL 2713543, at *4.




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       The fifth Sealed Plaintiff factor concerns whether the suit challenges the actions of the

government or that of private parties. “When a lawsuit challenges governmental actions, actors,

or policies, the plaintiff has a strong interest in proceeding anonymously.” Solera Cap., 2019

WL 1437520, at *6. Plaintiff challenges purely private actors. This factor thus also favors

Defendants.

       The sixth factor asks whether the defendant is prejudiced by allowing the plaintiff to

press her claims anonymously. Plaintiff argues that this factor favors anonymity because “[t]he

Complaint sets forth the factual basis for Plaintiff’s claims in detail” and “Plaintiff was

anonymous to Combs before, during and after the sexual assault described in the Complaint.”

Dkt. No. 33 at 6. In examining the sixth factor, “courts look at the damage to a defendant’s

reputation caused by the anonymous proceeding, the difficulties in discovery, as well as at the

fundamental fairness of proceeding in this manner.” EW v. New York Blood Ctr., 213 F.R.D.

108, 112 (E.D.N.Y. 2003). The sixth factor also favors Defendants. If Plaintiff’s name is kept

from the public, information about only one side may thus come to light. In particular, “persons

with information about [Plaintiff] or [her] allegations that would be helpful to the defense but

were unknown to the defendant might not come forward.” Branca USA, 2022 WL 2713543, at

*2. “This asymmetry between the parties not only would prejudice [Defendants], but would

hinder ‘the judicial interest in accurate fact-finding and fair adjudication.’” Combs, 2024 WL

4635309, at *5 (quoting Rapp, 537 F. Supp. 3d at 531); compare Doe v. N.Y.C. Hous. Auth.,

2022 WL 2072570, at *2 (S.D.N.Y. June 9, 2022) (“The defendants know the plaintiff’s identity,

and there is no need for that identity to be publicized for the defendants to take discovery and

defend this case.”). Moreover, “courts have found that defending against such allegations

publicly, while a plaintiff is permitted to make her accusations from behind a cloak of




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anonymity, is prejudicial.” Branca USA, 2022 WL 2713543, at *4 (internal citations and

quotations omitted). “Additionally, the plaintiff’s anonymity may undermine the defendants’

efforts to mitigate the alleged reputational damage stemming from these serious allegations.”

Combs, 2025 WL 268515, at *4.

       “The seventh Sealed Plaintiff factor is whether the plaintiff’s identity has thus far been

kept confidential. If confidentiality has not been maintained, courts typically reject a motion to

proceed under a pseudonym.” Combs, 2024 WL 4635309, at *5. Plaintiff has not spoken

publicly about the incidents that underlie the causes of action in her complaint. Dkt. No. 32 ¶ 7.

This factor favors Plaintiff.

       The eighth favor, the public interest, is neutral. The public has an interest in knowing

who has made an allegation against a public figure for, as the case comes before the Court, it

may be that the allegation is untrue. See Combs, 2024 WL 4635309, at *5 (stating that the Court

“must not . . . make any assumptions about whether [plaintiff’s] allegations are true or false”).

However, “[t]his interest is weighed against the public’s competing ‘interest in protecting the

identities of sexual assault victims so that other victims will not be deterred from reporting such

crimes.’” Combs, 2025 WL 268515, at *4 (quoting Doe on behalf of Doe No. 1 v. Nygard, 2020

WL 4890427, at *3 (S.D.N.Y. Aug. 20, 2020)).

       The ninth and tenth factors favor Defendants. This is not a case in which “because of the

purely legal nature of the issues presented or otherwise, there is an atypically weak public

interest in knowing the litigants’ identities,” and there do exist “alternative mechanisms for

protecting the confidentiality of the plaintiff.” Sealed Plaintiff, 537 F.3d at 190. A protective

order may “protect against disclosure of that information of the most personal and intimate

nature.” Branca USA, 2022 WL 2713543, at *4.




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       Thus, the only factors favoring anonymity are that Plaintiff allegedly was a victim of a

heinous sexual assault and has kept that assault confidential. But Plaintiff cannot be granted

anonymity merely because she brings a sexual assault claim, regardless of the severity of her

allegations. See Rapp, 537 F. Supp. 3d at 528; Skyline Automobiles, 375 F. Supp. 3d at 405;

Combs, 2024 WL 4635309, at *2; Branca USA, 2022 WL 2713543, at *2. The very gravity of

the charges, combined with the fact that Plaintiff has presented no evidence of specific and

concrete harm from disclosure of her identity and the severe prejudice to Defendants from

keeping that identity confidential, undermine her claim to proceed anonymously.

       The motion to proceed anonymously is DENIED. Plaintiff shall file a complaint in her

own name by March 20, 2025, or this case will be dismissed.

       The Clerk of Court is respectfully directed to close Dkt. No. 31.

       SO ORDERED.

Dated: March 6, 2025                                __________________________________
       New York, New York                                      LEWIS J. LIMAN
                                                           United States District Judge




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